Case 3:15-CV-OO420-CSH Document 1 Filed 03/23/15 Page 1 of 3

UNITED STATES DISTRICT COURT
CONNECITCUT

VITTORIA AMASINO

Plaintiff,

V. CIVIL ACT"ON NO

FRONTLINE ASSET STRATEGIES, LLC

Defendant. MARCH 23,

COMPLAINT

1. Plaintiff seeks relief pursuant to the Fair Debt Collection Prac

2015

ices Act

("FDCPA"), 15 U.S.C. § 1692; and regulations issued thereunder; and the

Connecticut Unfair Trade Practices ("CUTPA"), Conn. Gen. Stat. § 112-1 lOa.

2. The Court's jurisdiction is conferred by 15 U.S.C.1692k and 2
and 1367 .

3. Plaintiff is a natural person who resides in North Branford, CT.

4. Plaintiff is a consumer within the FDCPA.
5. Defendant FrontLine Asset Strategies, LLC, is a debt collector
FDCPA and has a principal place of business located at 2700 Snellin

North, Roseville, MN 55113.

BU.S.C. 1331

within the

g Avenue

6. Defendant is or was engaged in the collection of debts from consumers

using the mail and telephone. Defendant regularly attempted to collect consumer

 

Case 3:15-CV-OO420-CSH Documentl Filed 03/23/15 Pa

debts alleged to be due to another in the State of Connecticut.

7 . On or about January, 2015, Defendant through a collection agen

geZofS

t who

identified himself as Songa, attempted to collect a allegedly delinquent consumer

credit card debt, currently owed to LVNV Funding LLC by calling

Plaintiff and speaking to her son.

he home of

8. In the collection efforts, the Defendant communicated with a third party and

discussed the fact the Plaintiff owed an alleged debt to the Plaintiff’
9. Defendant through their collection agent violated the FDCPA, §
calling the home of the Plaintiff and speaking with a third party not

the debt.

10. In the collection efforts, the Defendant violated the FDCPA; int

SECOND COUNT
11. The allegations of the First Count are repeated and realleged as

forth herein.

5 SOII.

1692¢ by

obligated on

er alia §1692c.

if fully set

12. Within three years prior to the date of this action, Defendant has committed

unfair or deceptive acts or practices within the meaning of the Unfai

r Trade

Practices Act, Conn. Gen. Stat. 42-110a et seq, including but not linited to

communications with 3"' parties, prohibited by the FDCPA § 16920

making false, deceptive and misleading statements in violation of §l

md also

692e.

 

Case 3:15-CV-OO420-CSH Document 1 Filed 03/23/15 Page 3 of 3

WHEREFORE Plaintiff respectfully requests this Court to:
1. Award Plaintit`f statutory damages pursuant to the FDCPA.
2. Award Plaintifl` statutory damages pursuant to CUTPA
3. Award Plaintiff costs of suit and a reasonable attorney’s fee.

4. Award such other and further relief as this Court may see fit.

 

  

  

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